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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                    :
WILLIAM C. TOTH, JR., et al.,       :
                                    :
           Plaintiffs,
                                    :
     v.                             :
                                    :
LEIGH M. CHAPMAN, et al.,           :   No. 1:22-cv-00208-JPW-KAJ-PS
                                    :
           Defendants.              :   Honorable Kent A. Jordan
                                    :   Honorable Patty Shwartz
     v.                                 Honorable Jennifer P. Wilson
                                    :
CAROL ANN CARTER, et al.,           :
                                    :
           Intervenor-Defendants.   :
                                    :
                                    :
                                    :


   CARTER PETITIONERS’ REPLY IN SUPPORT OF MOTION TO
     DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
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                                INTRODUCTION
       Plaintiffs seek extraordinary relief. They ask this Court to override a

Pennsylvania Supreme Court order, throw out Pennsylvania’s congressional map

under which elections are already proceeding, and force Pennsylvanians to elect their

congressional representatives in at-large elections for the first time since the

eighteenth century. But as the Carter Petitioners argued in their original motion, see

generally Carter Petitioners’ Mot. Dismiss (“Carter Mot. Dismiss”), ECF No. 59,

there is no legal basis for Plaintiffs’ claims, which fail on every level, including

jurisdictionally. 1

       In opposition, Plaintiffs repeatedly fail to confront binding U.S. Supreme

Court precedent and ignore or misconstrue black letter law. As a threshold matter,

Lance v. Coffman, a case nearly identical to this one, squarely forecloses Plaintiffs’

claims through its holding that the alleged injury upon which Plaintiffs’ claims rely,

“is precisely the kind of undifferentiated, generalized grievance about the conduct

of government that we have refused to countenance in the past.” 549 U.S. 437, 442

(2007) (emphasis added). Plaintiffs’ other attempts to manufacture standing have

similarly been rejected by courts across the country, including the Supreme Court,


1
 As noted in the Carter Petitioners’ motion to dismiss, this motion concerns Claim
1 and Claim 2 (the “Elections Clause claims”) in the Second Amended Complaint.
See Carter Mot. Dismiss at 3. Pursuant to the Court’s February 25 Order, ECF No.
43 ¶ 2, Carter Petitioners reserve the right to separately move to dismiss Plaintiffs’
Claim 3.
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the Third Circuit, and courts in this district. All these cases point to the same

unavoidable conclusion: Plaintiffs lack standing because they allege only

generalized and speculative injuries that do not implicate any federal rights, and they

fail to identify a single party who could support a claim under the Elections Clause.

      Faced with a wall of binding precedent rejecting their substantive arguments,

Plaintiffs appear to walk them back and offer a new theory in support of their

Elections Clause claims. While Plaintiffs’ Second Amended Complaint expressly

argues that only legislatures may redistrict, see, e.g., Second Amended Complaint

(“SAC”) at 4, ECF No. 49, Plaintiffs’ opposition to the motions to dismiss now

“readily acknowledge[s] that Branch [v. Smith] allows courts to remedy violations

of 2 U.S.C. § 2c by drawing single-member districts,” Opposition to Motion to

Dismiss (“Opp.”) at 13. Instead, Plaintiffs now claim that the Pennsylvania Supreme

Court’s only mistake was altering administrative pre-primary election deadlines. Id.

Putting aside that a party cannot amend a complaint in an opposition to a motion to

dismiss, this position, too, is unsustainable as a matter of law. Essential to state

courts’ ability to adjudicate impasse redistricting litigation (an authority that

Plaintiffs now apparently no longer dispute state courts have) is their power to

facilitate that adjudication. In fact, this is a power the Supreme Court has “not only”

“recognized,” but “specifically encouraged.” Growe v. Emison, 507 U.S. 25, 33

(1993).

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      For the reasons set forth in Plaintiffs’ original motion and below, the Court

should dismiss Plaintiffs’ Elections Clause claims.

                                    ARGUMENT

I.    Plaintiffs lack standing to assert violations of the Elections Clause or 2
      U.S.C. § 2a(c)(5).

      Plaintiffs’ Opposition lays bare that the only relief Plaintiffs seek is to have

the government follow the law as they perceive it, a remedy that would impact all

Pennsylvanians in the same way. But it is black letter law that asserting a right “to

have the Government act in accordance with law” does not confer standing. Allen v.

Wright, 468 U.S. 737, 754 (1984), abrogated on other grounds by Lexmark Int’l,

Inc. v. Static Control Components, Inc., 572 U.S. 118, 126–27 (2014). The same is

true when a plaintiff’s alleged injury is undifferentiated and common to all members

of the broader electorate, as is the case here. See, e.g., United States v. Richardson,

418 U.S. 166, 173–74 (1974). Plaintiffs have accordingly failed to demonstrate “an

invasion of a legally protected interest” that is sufficiently “concrete and

particularized” to confer upon the Court the power to adjudicate their claims.

Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016). But even if Plaintiffs could

demonstrate Article III standing, they identify no instance where a court has

permitted private litigants to assert Elections Clause claims on behalf of a legislative

body, nor any court that has accepted their novel theory that they have a cognizable

right or privilege under 42 U.S.C. § 1983. Thus, the Court can and should easily find

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that Plaintiffs do not meet the requirements of constitutional or prudential standing

and dismiss their Elections Clause claims on these grounds.

      A.     The individual voter Plaintiffs lack standing.

      Plaintiffs do not dispute that they seek only “to have the Government act in

accordance with the law,” but as the Supreme Court has found time and again,

“[a]ssertion of a right to a particular kind of Government conduct, which the

Government has violated by acting differently, cannot alone satisfy the requirements

of Art. III.” Allen, 468 U.S. at 754 (quotations omitted). Plaintiffs “allege that the

defendants’ refusal to conduct at-large elections is depriving them of their right to

vote in all 17 of the state’s congressional races.” Opp. at 6 (citing SAC ¶ 53). Even

if such a right existed, it would belong to every single voter in Pennsylvania and is

therefore a quintessential generalized grievance. As a result, it is not sufficiently

“concrete and particularized,” and Plaintiffs lack standing. Spokeo, 578 U.S. at 339.

Although Plaintiffs are correct that the fact that an injury may be felt by many people

does not necessarily mean it is not sufficiently particularized to confer standing,

Opp. at 7, precedent establishes that where all voters experience the same alleged

injury, it is too generalized to confer standing, Bognet v. Sec’y Commonwealth of

Pennsylvania, 980 F.3d 336, 349 (3d Cir. 2020), cert. granted, judgment vacated

sub nom. Bognet v. Degraffenreid, 141 S. Ct. 2508 (2021) (finding plaintiffs lack

standing to pursue Elections Clause claims because “[t]heir relief would have no


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more directly benefitted them than the public at large”). Tellingly, Plaintiffs identify

no case where private plaintiffs were found to have standing to assert an Elections

Clause injury.

      The Supreme Court’s directly applicable binding precedent in Lance v.

Coffman, 549 U.S. 437 (2007), forecloses Plaintiffs’ claims. The circumstances

presented in Lance are identical to those here: individual private citizens launched a

collateral attack on a congressional districting plan adopted by a state supreme court,

arguing that the court’s adopted plan could not be used in upcoming elections

because only the state legislature could redistrict under the Elections Clause. Id. at

442. The Supreme Court held that the plaintiffs lacked standing because their alleged

injury “is precisely the kind of undifferentiated, generalized grievance about the

conduct of government that we have refused to countenance in the past.” Id.

      Plaintiffs attempt to distinguish Lance by arguing that the Court’s conclusion

about standing resulted from the plaintiffs’ failure to “explain[] how defendants’

failure to follow the law is inflicting Article III injury.” Opp. at 7 (emphasis in

original). But that’s incorrect: the Court expressly held that the plaintiffs lacked

standing because “[t]he only injury plaintiffs allege is that the law—specifically the

Elections Clause—has not been followed,” Lance, 549 U.S. 437 at 442. This is

precisely the same injury alleged by Plaintiffs. See, e.g., SAC at 4 (“The Elections

Clause says that ‘the Legislature’—not the judiciary—must ‘prescribe’ the manner

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of electing representatives, and the General Assembly has not adopted or approved

the [adopted map] as the state’s congressional map.”). Thus, for the same reasons,

Lance requires that this Court conclude that, “[b]ecause [P]laintiffs assert no

particularized stake in the litigation . . . they lack standing to bring their Elections

Clause claim[s].” Lance, 549 U.S. 437 at 442.

      Plaintiffs’ attempt to distinguish the Third Circuit’s holding in Bognet on the

same ground—that plaintiffs in that case simply did a poor job of explaining how

defendants’ failure to follow the law was injuring them—fares no better. Just as in

Lance, the Third Circuit’s dispositive reasoning in Bognet did not turn on some

failure of explanation by the plaintiffs. Rather, the court’s reasoning turned on the

fact that the plaintiffs’ requested “relief would have no more directly benefitted them

than the public at large.” Bognet, 980 F.3d at 349 (emphasis added); see also id.

(finding that plaintiffs’ alleged harm is merely a right to have government

administered in compliance with the Elections Clause, an injury that is

“undifferentiated and common to all members of the public,” and thus “courts

routinely dismiss such cases as ‘generalized grievances’ that cannot support

standing) (quoting Richardson, 418 U.S. at 173–175). The same is true of Plaintiffs’

identical claim here—that they were injured by the court’s approval of a map. If this

were a cognizable injury, it would be felt by all Pennsylvania voters. There is nothing

particularized about Plaintiffs’ claims. See also DaimlerChrysler Corp. v. Cuno, 547

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U.S. 332, 344 (2006) (finding plaintiffs did not have standing where plaintiff

“suffers in some indefinite way in common with people generally”).

      Plaintiffs’ appeal to § 2a(c)(5) does not save their Elections Clause claims.

The actual injury they allege is inseparable from Defendants’ supposed violations of

the Elections Clause, and Lance forecloses any such claim. But even if that statute

could provide the relief Plaintiffs seek, any right under § 2a(c)(5) is again merely a

request that the government follow the law as Plaintiffs perceive it, and for all the

reasons just described, any purported injury would be shared by all Commonwealth

voters and is thus too generalized to confer standing. See Allen, 468 U.S. at 754.

      Plaintiffs’ reliance on cases observing that the right to vote is “personal in

nature” does not help their cause. See Opp. at 6. As the Supreme Court found in

Lance, the injuries that Plaintiffs allege are “quite different from the sorts of injuries

alleged by plaintiffs in voting rights cases where we have found standing.” 549 U.S.

at 442. And as the Third Circuit explained, “it does not follow from the labeling of

the right to vote as ‘personal’ in Baker [v. Carr, 369 U.S. 186 (1962)] and Reynolds

[v. Sims, 377 U.S. 533 (1964),] that any alleged illegality affecting voting rights rises

to the level of an injury in fact.” Bognet, 980 F.3d at 358. This is because in cases

like Baker and Reynolds “a disadvantage to the plaintiff exist[ed] only” because “the

plaintiff [was] part of a group of voters whose votes w[ere] . . . weighed differently

compared to another group.” Id. In contrast, here, every voter in Pennsylvania could

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claim to be equally aggrieved by the same injuries that Plaintiffs allege gives them

the right to adjudicate their claims. Plaintiffs “lack[] Article III standing because

they claim[] harm only to their interest, and that of every citizen, in proper

application of the Elections Clause.” Id. at 349 (citing Lance, 437 U.S. at 442). The

Court should accordingly dismiss Plaintiffs’ Elections Clause claims.

      B.     The candidate Plaintiffs lack standing.

      As noted in the motion to dismiss, the Third Circuit recently dismissed a case

in which one of the same Plaintiffs here (Bognet, who was then a candidate for

office) made the exact same claims that Bognet and Bashir now make regarding their

standing as candidates to pursue this case. Carter Mot. Dismiss at 11-12; Bognet,

980 F.3d at 351. Plaintiffs do not dispute this. Nor do they make any attempt to

establish how Bognet or Bashir are affected “in a[ny] particularized way when, in

fact, all candidates in Pennsylvania, including [their] opponent[s],” are in a similar

posture. Bognet, 980 F.3d at 351. Plaintiffs’ silence is fatal—because neither Bognet

nor Bashir can demonstrate how their injuries go beyond “generalized grievances,”

the Court need go no further. Both lack standing to assert violations of the Elections

Clause. Richardson, 418 U.S. at 173; Bognet, 980 F.3d at 351.

      Instead, Bognet and Bashir argue they have standing by contesting the

applicability of the self-inflicted harm doctrine. That argument, too, cannot survive

scrutiny. Bognet and Bashir contend that their injuries would still have occurred


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even if they had not participated in this lawsuit, because their co-plaintiffs would

have brought the same claims that create the uncertainties that they claim befall their

campaigns. Opp. at 10. In doing so, Bognet and Bashir concede that the

“uncertainty” they claim stems not from Defendants’ actions but from the filing of

this lawsuit. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992) (requiring

alleged injury be “fairly traceable” to defendants’ conduct).

      A plaintiffs’ own litigation activity is insufficient to confer standing. See

Carter Mot. Dismiss at 12-14; Lujan, 504 U.S. at 564 n.2 (1992) (standing “has been

stretched beyond the breaking point when, as here . . . the acts necessary to make the

injury happen are at least partly within the plaintiff’s own control”) (emphasis

added); Natural Res. Def. Council, Inc. v. U.S. Food & Drug Admin., 710 F.3d 71,

85 (2d Cir. 2013) (“To be sure, a plaintiff may not establish injury for standing

purposes based on a ‘self-inflicted’ injury.”). No court has ever recognized an

exception for cases involving multiple plaintiffs, and for good reason. By that logic,

a group of plaintiffs could file a lawsuit to generate Article III standing simply by

pointing to one another to pretend such a lawsuit was inevitable. It is well established

that plaintiffs cannot “manufacture standing” by filing a lawsuit “in anticipation of

non-imminent harm.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 422 (2013). It is

these six Pennsylvania citizens—and these citizens alone—who call the finality of

the 2022 Congressional Map into question with this lawsuit, after months of state

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court litigation in which voters, candidates, and legislators of both political parties

expressed no “uncertainty” about the state courts’ authority to adopt a congressional

map. This is a quintessential self-inflicted injury that cannot support standing.

      Plaintiffs next contend that Defendants’ actions will “hinder their fundraising

efforts,” claiming that such alleged injuries are a “predictable effect of Government

action on the decisions of third parties.” Opp. at 9 (citing Department of Commerce

v. New York, 139 S. Ct. 2551 (2019)). There are at least two fundamental (and fatal)

flaws in Plaintiffs’ fundraising theory for standing. First, it, too, rests on an

allegation that there are “uncertainties” about which map Pennsylvania will use, and

points to those uncertainties as hurting their fundraising prospects. See SAC Ex. 12,

ECF No. 49-12 (alleging there is “lingering uncertainty over the legality and

constitutionality of the court-drawn map . . . [which] mak[es] it difficult to raise

money from donors to finance [Bashir’s] campaign”). But, again, the only

uncertainties are those raised by Plaintiffs in this lawsuit. Pennsylvania has already

implemented the map and candidates are gathering signatures in reliance on it. In

other words, this purported injury, too, is a self-manufactured harm and thus, for the

reasons discussed, it cannot support standing.

      But, in addition, Plaintiffs ask the Court to assume—without any credible

supporting factual allegations—that candidates Bashir and Bognet are negatively

impacted in their ability to raise campaign funds simply because they make that

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claim. It is well established that “[a] court need not credit a complaint’s ‘bald

assertions’ or ‘legal conclusions’ when deciding a motion to dismiss.” Morse v.

Lower Merion Sch. Dist., 132 F.3d 902, 906 (3d Cir. 1997); see also Finkelman v.

Nat’l Football League, 810 F.3d 187, 194 n.55 (3d Cir. 2016) (“Iqbal and Twombly

teach that standing cannot rest on mere ‘legal conclusions’ or ‘naked assertions.’”).

Bashir does not even allege that he has experienced these harms to date, despite the

alleged “uncertainties” now existing for nearly a month. See Bognet, 980 F.3d at 352

(finding that Bognet did not have standing where his alleged injuries were

“prediction[s]” and “inherently speculative” at the time the complaint was filed).

And Plaintiffs’ reliance on Department of Commerce is misplaced. Department of

Commerce in no way contradicts the general rule that courts should be “reluctant to

endorse standing theories that require guesswork as to how independent

decisionmakers will exercise their judgment.” Clapper, 568 U.S. at 422; Reilly v.

Ceridian Corp., 664 F.3d 38, 42 (3d Cir. 2011) (holding injuries that “stem[] from

an indefinite risk of future harms inflicted by unknown third parties” are insufficient

to confer standing) (citing Lujan, 504 U.S. at 564). Thus, even if this injury were not

self-manufactured and dependent on the “uncertainty” created by Plaintiffs’ own

lawsuit, it would still be insufficient to support standing.

      Finally, Bashir continues to insist that he has a legally cognizable right to the

electorate of his choice. Opp. at 10. But courts have consistently held otherwise:

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elected officials and candidates have “no legally cognizable interest in the

composition of the district” they hope to represent, Corman v. Torres, 287 F. Supp.

3d 558, 569 (M.D. Pa. 2018), and a legislator (or in this case, a candidate), “suffers

no cognizable injury, in a due process sense or otherwise, when the boundaries of

his district are adjusted by reapportionment,” City of Phila. v. Klutznick, 503 F.

Supp. 663, 672 (E.D. Pa. 1980); see Wittman v. Personhuballah, 578 U.S. 539, 545

(2016) (finding officeholders lacked standing to challenge district lines based on

allegations that their districts would be “flooded with Democratic voters,” reducing

their chances of reelection). Because Bashir has no legally cognizable interest in a

particular electorate, he cannot demonstrate a legally cognizable injury that would

confer standing in federal court.

      Finally, Justice Stevens’s concurrence in League of United Latin American

Citizens v. Perry (“LULAC”), Opp. at 10, does not establish plaintiffs’ standing here.

Plaintiffs’ standing in LULAC arose from injuries of vote dilution under Section 2

of the Voting Rights Act, LULAC, 548 U.S. 399, 409 (2006), similar to Reynolds

and Baker, as discussed above. Here, Bashir asserts entirely different claims

premised on alleged violations of the Elections Clause, and any alleged resulting

injury as a candidate is too generalized to confer standing because it is shared with

all other candidates in the Commonwealth. Bognet, 980 F.3d at 351.




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      C.     The county election official Plaintiff lacks standing.

      Plaintiffs’ argument that Alan Hall has standing based on his desire to follow

the law as he personally understands it relies on outdated case law. See City of S.

Lake Tahoe v. California Tahoe Reg’l Plan. Agency, 625 F.2d 231, 236 (9th Cir.

1980), cert denied, 449 U.S. 1039 (1980) (“[Board of Education of Central School

District No. 1 v.] Allen was followed by . . . [Supreme Court] cases which

significantly tightened standing requirements.” (citing O’Shea v. Littleton, 414 U.S.

488, (1974) and Sierra Club v. Morton, 405 U.S. 727 (1972))). Simply alleging that

a government official believes he is being forced to administer elections against his

personal understanding of the Constitution is no longer sufficient to establish

standing under prevailing Supreme Court standing doctrine. See, e.g., id. at 237;

Crane v. Johnson, 783 F.3d 244, 253 (5th Cir. 2015) (“[T]he violation of one’s oath

alone is an insufficient injury to support standing.”); Lake Tahoe, 625 F.2d at 236.

To hold otherwise would confer on any official the right to challenge virtually any

statute the official is charged with implementing or enforcing, on almost any ground.

      Hall also claims that he is injured because under the slightly revised election

calendar, he has less time to prepare and send overseas military ballots. Opp. at 11.

He cites no authority supporting standing based on a government official working

on a compressed timeline to fulfill their duties. And he ignores the fact that, if this

lawsuit were successful, that would only cause further delay in preparing for the


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primary. See Lujan, 504 U.S. at 561 (plaintiff’s injury must be “redressed by a

favorable decision” to satisfy standing requirements).

       D.     Plaintiffs cannot assert the Pennsylvania General Assembly’s
              rights under the Elections Clause.
       Plaintiffs do not have standing to bring claims premised on the rights of the

General Assembly, and they identify no authority holding otherwise. See Corman,

287 F. Supp. 3d at 573 (indicating that Elections Clause claims belong “if they

belong to anyone, only to the Pennsylvania General Assembly”). Plaintiffs cannot

maintain a federal lawsuit premised on those rights because they have not identified

any “‘hindrance’ to the [General Assembly’s] ability to protect [its] own interests.”

See Kowalski v. Tesmer, 543 U.S. 125, 130 (2004) (quoting Powers v. Ohio, 499

U.S. 400, 411 (1991)). The Court should find, as the Corman court did, that claims

brought under the Elections Clause “rest solely on the purported usurpation of the

Pennsylvania General Assembly’s exclusive rights under the [provision]” and such

“grievance alone does not carry [plaintiffs] over the standing bar.” 287 F. Supp. 3d

at 567.

       Ignoring the limitations of prudential standing, Plaintiffs assert that they have

a personal right, separate from the rights of the Pennsylvania General Assembly, not

to be harmed by Defendants’ violations of the Elections Clause and § 2a(c)(5). But

Plaintiffs again fail to cite to a single court that has recognized that a private plaintiff



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can maintain a claim under those provisions. See generally Opp. at 14-17. Plaintiffs

attempt to sidestep this issue by misstating the law, broadly asserting that any

“violations of federal statutes” “may [be] assert[ed] . . . under 42 U.S.C. § 1983.”

Opp. at 15. This is incorrect. The U.S. Supreme Court has clearly stated: “Section

1983 speaks in terms of ‘rights, privileges, or immunities,’ not violations of federal

law.” Wilder v. Va. Hosp. Ass’n, 496 U.S. 498, 509 (1990). As a result, Plaintiffs

must show that § 2a(c)(5) “indisputably confers ‘rights’ enforceable through 42

U.S.C. § 1983.” Opp. at 15. They have not done so. Plaintiffs’ citations to various

Supreme Court cases, Opp. at 16-17, in no way demonstrates that the Elections

Clause or § 2a(c)(5) are cognizable “rights” or “privileges” protected under § 1983.

Such an interpretation of § 1983 would expand the scope of that provision to conflict

with both the express language of the provision and binding Supreme Court

precedent. See Wilder, 496 U.S. at 509 (holding Section 1983 does not cover all

violations of federal law).

       For all of these reasons, Plaintiffs have failed to demonstrate that they have

standing, and their Elections Clause claims must be dismissed.

II.    Plaintiffs’ request for relief is moot, and Plaintiffs fail to state a claim
       upon which relief may be granted.

       Confronted by the Supreme Court’s binding precedent in Branch and Growe,

Plaintiffs now morph their theory of the case in a futile attempt to avoid the



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controlling authority that forecloses their claims. Plaintiffs now “readily

acknowledge that the state judiciary can draw maps.” Opp. at 19; compare id. at 17

(“[T]he state judiciary is allowed to impose a court-drawn map to enforce the single-

member districting requirement of 2 U.S.C. § 2c.”) with SAC ¶ 60 (“the General

Assembly has not delegated any of its map-drawing powers to the state judiciary or

authorized the state courts to involve themselves in the re-districting process in any

way”) (emphasis added). Plaintiffs instead claim that the Pennsylvania Supreme

Court’s only misstep was to modify a few administrative elections deadlines in

advance of the May primary election. Opp. at 18. Under Plaintiffs’ new theory, it

became too late for the state court to act the moment it changed any election-related

deadline, regardless of how minor the change or how far in advance of the elections

the change was made. Plaintiffs’ revised theory finds no support in Branch or any

other case law and ignores what the Supreme Court has recognized time and time

again: “The power of the judiciary of a State to require valid reapportionment or to

formulate a valid redistricting plan has not only been recognized by this Court but

appropriate action by the States in such cases has been specifically encouraged.”

Growe, 507 U.S. at 33 (quotations omitted).

      Plaintiffs’ novel argument hinges on an isolated phrase from the Branch

plurality about “disrupting the election process.” See Opp. at 5, 13, 14, 18, 20. In

selectively relying on this phrase, Plaintiffs ignore the very limited circumstance in

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which a plurality of justices found § 2a(c)(5) would come in to play.2 Indeed, in the

same paragraph Plaintiffs cite, the plurality unequivocally stated that § 2a(c)(5) is

“inapplicable unless the state legislature, and state . . . courts, have all failed to

redistrict pursuant to § 2c,” Branch v. Smith, 538 U.S. 254, 275 (2003) (emphasis in

original), and is only “a last-resort remedy” in the narrow circumstance when “on

the eve of a congressional election, no constitutional redistricting plan exists and

there is no time for either the State’s legislature or the courts to develop one,” id.

(emphases added). Those narrow circumstances are not present here. Here, there was

“time” for the Pennsylvania courts to develop a new congressional map, and they

did so while leaving the date of the primary election intact. As a result, this Court

need not determine precisely when the “eve of a congressional election” has arrived

or the precise contours of “disrupting the election process.” A constitutional

congressional map is already in place, and elections are proceeding accordingly.

Therefore, “§2a(c) cannot be properly applied” because the state “court[] . . .

effect[ed] the redistricting mandated by §2c.” Id. Because the Court cannot “grant

the requested relief . . . the case must be dismissed as moot.’” Ehrheart v. Verizon

Wireless, 609 F.3d 590, 596 (3d Cir. 2010).



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  Three other justices found that § 2a(c)(5) had been impliedly repealed and was
inapplicable in any scenario. Branch v. Smith, 538 U.S. 254, 285 (2003) (Stevens,
J., concurring).

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      Plaintiffs are mistaken that the Pennsylvania Supreme Court could not modify

election-related deadlines, especially when, as here, doing so does not “disrupt[] the

election process.” Branch, 538 U.S. at 275. It is long settled that the Elections

Clause’s reference to the “Legislature” “neither requires nor excludes . . .

participation” in the lawmaking process by other organs of state government. Smiley

v. Holm, 285 U.S. 355, 368 (1932). The Pennsylvania Supreme Court issued minor

modifications to certain election deadlines leading up to the May 17 primary, the

date set by statute, “[t]o provide for an orderly election process.” SAC Ex. 11 at 3,

ECF No. 49-11. This order was not only slight and non-disruptive, but essential to

crafting a remedy for the underlying violations of state and federal law caused by

the political branches’ impasse in redistricting—a remedy the U.S. Supreme Court

has repeatedly encouraged state courts to formulate. See, e.g., Growe, 507 U.S. at

37; Scott v. Germano, 381 U.S. 407, 409 (1965). There is no reasonable way to read

the Supreme Court’s precedent to “specifically encourage[]” state courts to adopt

congressional maps when the political branches fail to do so, Growe, 507 U.S. at 34,

while simultaneously prohibiting state courts from altering any election deadlines to

effectuate that remedy. State and federal courts alike modify election deadlines when

needed to enforce lawful redistricting plans, and the Supreme Court has specifically

authorized judicial alteration of the election schedule in these circumstances. See,

e.g., Upham v. Seamon, 456 U.S. 37, 44 (1982) (“[W]e leave it to [the District Court]

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in the first instance to determine whether to modify its judgment [as to the state’s

congressional apportionment plan] and reschedule the [congressional] primary

elections . . . to allow the election to go forward in accordance with the present

schedule.”); Sixty-Seventh Minn. State Senate v. Beens, 406 U.S. 187, 201 n.11

(1972) (“If time presses too seriously [to implement a remedial reapportionment

plan], the District Court has the power appropriately to extend the [election deadline]

time limitations imposed by state law.”); see also Larios v. Cox, 305 F. Supp. 2d

1335, 1343 (N.D. Ga. 2004) (noting court’s power to extend election deadlines and

ordering new statewide maps be drawn in time for upcoming primary election); see

Carter Mot. Dismiss at 19. Plaintiffs offer no authority to the contrary.

      Plaintiffs make two other meritless arguments. First, Plaintiffs assert for the

first time that the 2022 Congressional Map does not adhere to substantive state law

requirements for redistricting. Opp. at 20. But the Pennsylvania Supreme Court is

the final arbiter of state law to which this federal court must defer. See Mullaney v.

Wilbur, 421 U.S. 684, 691 (1975) (“State courts are the ultimate expositors of state

law.”); Florida v. Powell, 559 U.S. 50, 56 (2010) (“It is fundamental . . . that state

courts be left free and unfettered by us in interpreting their state constitutions.”

(quotations omitted)). Any argument that Pennsylvania’s 2022 Congressional Map

violates substantive state law is not only brought in the wrong court, it is foreclosed




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by the fact that the Pennsylvania Supreme Court, the ultimate authority on

Pennsylvania law, reviewed and adopted the map itself.

      Second, Plaintiffs’ new throwaway argument that the state must conduct at-

large elections because there is a two-person deviation between some congressional

districts again ignores Supreme Court precedent. Opp. at 20. Should the Court

determine there is a population deviation issue that requires correction, which there

is not, the proper remedy would be to make minor adjustments to equalize

population, not to throw out the map and force at-large elections. Abrams v. Johnson,

521 U.S. 74, 100 (1997) (concluding that, if a map’s population deviation were later

deemed “unacceptable,” the proper remedy would be to “require some very minor

changes in the court’s plan—a few shiftings of precincts—to even out districts with

the greatest deviations”).

      In sum, none of Plaintiffs’ new and scattershot arguments save their Elections

Clause claims, which are now moot and, in any event, foreclosed as a matter of law.

                                 CONCLUSION

      For the reasons stated above and in their motion to dismiss, Carter Petitioners

respectfully request that the Court grant their Motion to Dismiss Claim 1 and Claim

2 of the Plaintiffs’ Second Amended Complaint.




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Dated: March 5, 2022                     Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing contains 4,967 words, based on the word

count of the word processing system used to prepare this brief, and thereby

complies with the Local Civil Rule 7.8.




DATED: March 5, 2022

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